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IN TH'E UNITED STATES DISTRICT COUR.T
FOR THE WESTERN DISTR.ICT OF TENNESSEE
WESTER.N DIVISION

 

UNITED STATES OF AMERICA,
Plaintiff,
vs. CR. NO. 03-20102-Ma

SHYRETTE JOHNSON ,

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELA'Y

 

This cause came on for a report date on. July' 22, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning September 6, 2005 at 9:30 a.m., with a
report date of Friday, August 26, 2005 at 2:00 p.m.

The period from July 22, 2005 through September 16, 2005 is
excludable under 18 U.S.C. § 3161(h}(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

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IT IS SO ORDERED this day of August, 2005.

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SAMUEL H. MAYS, JR.
UNI'I‘ED STATES DISTRICT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

